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 1                              UNITED STATES DISTRICT COURT
 2                                        DISTRICT OF NEVADA
 3
 4   UNITED STATES OF AMERICA,                               Case No.: 2:17-cr-00180-JAD-PAL
 5                           Plaintiff,                    ORDER DENYING STIPULATION
                                                         FOR MODIFICATION OF CONDITIONS
 6   v.                                                       OF PRETRIAL RELEASE
 7   CASEY WALTERS, JR.,                                              (Docket No. 339)
 8                           Defendant.
 9          Pending before the Court is the parties’ stipulation to modify conditions of pretrial release
10 for Defendant Casey Walters, Jr. Docket No. 339. The stipulation, filed at 5:19 p.m. on May 9,
11 2018, asks the Court to modify Defendant’s conditions of pretrial release to, inter alia, allow him
12 to board a flight on May 10, 2018, at 5:45 a.m., from Texas to New York. Id.
13          As Defendant failed to file the stipulation with sufficient time for the Court to consider it
14 prior to the requested travel, the stipulation is DENIED. Docket No. 339.
15          IT IS SO ORDERED.
16          DATED: May 10, 2018.
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19                                                NANCY J. KOPPE
                                                  UNITED STATES MAGISTRATE JUDGE
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